Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 1 of 48
                 Case: 12-10995 Date Filed: 10/16/2014 Page: 1 of 1


                             UNITED STATES COURT OF APPEALS                                                   MC
                                FOR THE ELEVENTH CIRCUIT
                                                                                          Oct 16, 2014
                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303                                 MIAMI


   John Ley                                                                            For rules and forms visit
   Clerk of Court                                                                      www.ca11.uscourts.gov


                                            October 16, 2014

   Steven M. Larimore
   U.S. District Court
   400 N MIAMI AVE
   MIAMI, FL 33128-1810

   Appeal Number: 12-10995-AA ; 12-11185 -AA ; 12-15027 -AA ; 12-15248 -AA
   Case Style: USA v. Lavont Flanders, Jr.
   District Court Docket No: 1:11-cr-20557-KMM-1

   A copy of this letter, and the judgment form if noted above, but not a copy of the court's
   decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
   was previously forwarded to counsel and pro se parties on the date it was issued.

   The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
   was previously provided on the date of issuance.

   Sincerely,

   JOHN LEY, Clerk of Court

   Reply to: Regina A. Veals-Gillis
   Phone #: (404) 335-6163

   Enclosure(s)
                                                                         MDT-1 Letter Issuing Mandate
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 2 of 48
                 Case: 12-10995 Date Filed: 10/16/2014 Page: 1 of 3


                        UNITED STATES COURT OF APPEALS
                              For the Eleventh Circuit
                                  ______________

                                        No. 12-10995
                                       ______________

                                   District Court Docket No.
                                    1:11-cr-20557-KMM-1

   UNITED STATES OF AMERICA,

                        Plaintiff - Appellee,

   versus

   LAVONT FLANDERS, JR.,
   a.k.a. Antone Cobe,
   a.k.a. Shannon, et al.,
   EMERSON CALLUM,
   a.k.a. Jah-T,

                        Defendants - Appellants.


                                 ________________________

                                       No. 12-15027
                                 ________________________

                           D.C. Docket No. 1:11-cr-20557-KMM-1



   UNITED STATES OF AMERICA,

                      Plaintiff-Appellee,

   versus

   LAVONT FLANDERS, JR.,
   a.k.a. Antone Cobe,
   a.k.a. Shannon,,
   a.k.a. Larry Griffin,
   a.k.a. Karen Watson,
   a.k.a. Darius,



   ISSUED AS MANDATE: 10/16/2014
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 3 of 48
                 Case: 12-10995 Date Filed: 10/16/2014 Page: 2 of 3


   a.k.a. Ladarius Cobe,
   a.k.a. Darius Cove,
   a.k.a. Errick Farmer,
   a.k.a. Eric Lawson,
   a.k.a. Erick Liwson,
   a.k.a. Tina Clintmore,
   a.k.a. Erick Blossom,
   a.k.a. Gregory Bagget,

                            Defendant-Appellant.


                                     ________________________

                                           No. 12-15248
                                     ________________________

                               D.C. Docket No. 1:11-cr-20557-KMM-1



   UNITED STATES OF AMERICA,

                       Plaintiff-Appellee,

   versus

   LAVONT FLANDERS, JR.,
   a.k.a. Antone Cobe,
   a.k.a. Shannon,
   a.k.a. Larry Griffin,
   a.k.a. Karen Watson,
   a.k.a. Darius,
   a.k.a. Ladarius Cobe,
   a.k.a. Darius Cove,
   a.k.a. Errick Farmer,
   a.k.a. Eric Lawson,
   a.k.a. Erick Liwson,
   a.k.a. Tina Clintmore,
   a.k.a. Erick Blossom,
   a.k.a. Gregory Bagget,

                       Defendant-Appellant.




   ISSUED AS MANDATE: 10/16/2014
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 4 of 48
                 Case: 12-10995 Date Filed: 10/16/2014 Page: 3 of 3


                          __________________________________________

                         Appeals from the United States District Court for the
                                     Southern District of Florida
                         __________________________________________

                                              JUDGMENT

   It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
   entered as the judgment of this Court.

                                        Entered: May 27, 2014
                                For the Court: John Ley, Clerk of Court
                                           By: Jeff R. Patch




   ISSUED AS MANDATE: 10/16/2014
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 5 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 1 of 44




                                                                    [PUBLISH]

                 IN THE UNITED STATES COURT OF APPEALS

                         FOR THE ELEVENTH CIRCUIT
                           ________________________

                                 No. 12-10995
                           ________________________

                      D.C. Docket No. 1:11-cr-20557-KMM-1



   UNITED STATES OF AMERICA,

                                                             Plaintiff-Appellee,

                                      versus

   LAVONT FLANDERS, JR.,
   a.k.a. Antone Cobe,
   a.k.a. Shannon, et al.,
   EMERSON CALLUM,
   a.k.a. Jah-T,

                                                         Defendants-Appellants.


                           ________________________

                                 No. 12-15027
                           ________________________

                      D.C. Docket No. 1:11-cr-20557-KMM-1
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 6 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 2 of 44


   UNITED STATES OF AMERICA,

                                                             Plaintiff-Appellee,

                                      versus

   LAVONT FLANDERS, JR.,
   a.k.a. Antone Cobe,
   a.k.a. Shannon,,
   a.k.a. Larry Griffin,
   a.k.a. Karen Watson,
   a.k.a. Darius,
   a.k.a. Ladarius Cobe,
   a.k.a. Darius Cove,
   a.k.a. Errick Farmer,
   a.k.a. Eric Lawson,
   a.k.a. Erick Liwson,
   a.k.a. Tina Clintmore,
   a.k.a. Erick Blossom,
   a.k.a. Gregory Bagget,

                                                       Defendant-Appellant.


                           ________________________

                                 No. 12-15248
                           ________________________

                      D.C. Docket No. 1:11-cr-20557-KMM-1



   UNITED STATES OF AMERICA,

                                                             Plaintiff-Appellee,

                                      versus

   LAVONT FLANDERS, JR.,

                                        2
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 7 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 3 of 44


   a.k.a. Antone Cobe,
   a.k.a. Shannon,
   a.k.a. Larry Griffin,
   a.k.a. Karen Watson,
   a.k.a. Darius,
   a.k.a. Ladarius Cobe,
   a.k.a. Darius Cove,
   a.k.a. Errick Farmer,
   a.k.a. Eric Lawson,
   a.k.a. Erick Liwson,
   a.k.a. Tina Clintmore,
   a.k.a. Erick Blossom,
   a.k.a. Gregory Bagget,

                                                                          Defendant-Appellant.

                                 ________________________

                        Appeals from the United States District Court
                            for the Southern District of Florida
                               ________________________

                                          (May 27, 2014)

   Before MARTIN and FAY, Circuit Judges, and DUFFY, * District Judge.

   DUFFY, District Judge:

          For years Lavont Flanders, Jr., and Emerson Callum (collectively,

   “Defendants” or “Appellants”) perpetrated a scheme in which they fraudulently

   lured women to South Florida, drugged them with Benzodiazepines, filmed them

   engaging in sexual acts, and distributed the pornographic footage. After a six-day

   trial, a jury convicted both Flanders and Callum on multiple counts of inducing


   *
     Honorable Patrick Michael Duffy, United States District Judge for the District of South
   Carolina, sitting by designation.
                                                  3
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 8 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 4 of 44


   women to engage in sex trafficking through fraud and of benefitting from that

   scheme. Flanders was also convicted of distributing a controlled substance, which

   he used to impair the victims’ judgments such that they would participate in the

   filming of pornographic videos. Appellants were sentenced to multiple

   consecutive life sentences. In this appeal, they raise several challenges to their

   convictions and sentences, and Flanders challenges his forfeiture. After oral

   argument and a careful review of the briefs and record in this case, we affirm.

                                      I. Background

   A. Criminal Scheme

         As part of the scheme, Flanders, using one of numerous aliases, would

   recruit women off of modeling websites and convince them to travel to South

   Florida for an “audition” for a liquor commercial. He usually advised the women

   to come alone to the audition. When they arrived, Flanders explained that they

   would need to act out a scene for a commercial before they could be taken to a

   second man, later identified as Callum, to film test footage. Flanders convinced

   the women that the auditions required them to taste alcohol, say scripted lines, and

   repeat the scene several times. Unbeknownst to the women, the alcohol was laced

   with Benzodiazepines, a drug known to impair memory and reduce inhibitions.

         As Flanders drove the women to another location to meet Callum, whom

   they thought was a Bacardi agent, the victims became dizzy, groggy, and often


                                             4
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 9 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 5 of 44


   “blacked out.” Flanders and Callum then had the women sign Model Release

   Forms. The women remembered little, as they helplessly fell unconscious, waking

   momentarily only to realize that Callum was having sex with them while Flanders

   filmed. When they fully regained consciousness the following day in their cars or

   hotel rooms, they were disoriented, confused, and sometimes bleeding and covered

   in bodily fluids. At least four victims tested positive for Callum’s DNA, recovered

   from vaginal swabs, and for Benzodiazepines.

         Unbeknownst to the victims, Callum distributed and attempted to distribute

   videos of the assaults over the Internet and to businesses through his pornographic

   production company, Miami Vibes Enterprises. The distributed videos were edited

   to remove portions where the victims were obviously unconscious.

   B. Police Investigation

         In the midst of their scheme, in 2007, Appellants were arrested by state

   police, and their residences were searched pursuant to warrants. Both were

   released on bond and continued their scheme until their arrests in 2011 following

   searches pursuant to new warrants.

         1. 2007 Searches

         In Flanders’s bedroom in a residence he shared with two adult relatives,

   officers discovered victims’ pornographic videos. In the only bathroom in the

   residence, officers found a prescription codeine pill bottle containing eight


                                             5
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 10 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 6 of 44


   Diazepam pills and three codeine pills. Flanders waived Miranda rights, stated

   that he was a bus driver, denied working for Bacardi, denied knowing Callum or

   Miami Vibes, and denied meeting anyone at an IHOP restaurant (although officers

   knew he had met a victim there).

         In Callum’s office, officers observed hundreds of pornographic photos on

   the walls. They seized thousands of pornographic videos, including hundreds of

   copies of three victims’ videos, and nude photos of a fourth victim. Officers found

   raw footage of one victim that included footage—which had been edited out of the

   commercial copy—in which she fell asleep during the sexual encounter. Even the

   raw footage was not a complete representation of the encounter between the victim

   and Callum because the filming stopped and started.

         In Callum’s residence, officers found hundreds of inserts for, and

   commercial copies of, victims’ videos, Model Release Forms for two victims,

   copies of the video interview of one victim, and evidence that Callum paid for the

   artwork on a victim’s video.

         2. 2011 Searches

         From a residence Flanders shared with his girlfriend and her sister, officers

   seized four computers and memory devices, a cellphone, a camera, numerous

   videos of victims (some packaged for sale), Model Release Forms for five victims,

   and a copy of one victim’s student ID. Officers also found a package containing


                                            6
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 11 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 7 of 44


   letters from Flanders to HomeGrownVideo revealing that Flanders was attempting

   to sell pornographic videos of Callum and several young women, including one of

   the victims. On a nightstand, officers found a bottle containing nineteen

   Clonazepam pills. Analysis of recovered computers showed that Flanders used

   them to email victims and conduct hundreds of searches on modeling websites and

   searches for images of unconscious women.

         In Callum’s residence, officers seized over 100 boxes, including sales

   receipts for victims’ videos, victims’ Model Release Forms, and hundreds of

   victims’ DVDs (commercial and master copies), and DVD cover inserts. Also

   found was a handwritten note indicating that one victim’s footage was filmed at a

   Miami motel.

   C. Procedural History

         A twenty-count superseding indictment charged both Appellants with

   conspiracy and substantive sex trafficking of women (18 U.S.C. §§ 371, 1591,

   1594), and Flanders with narcotics distribution (21 U.S.C. § 841). Count 1

   charged a § 371 conspiracy (May 2006–July 2007) to commit sex trafficking by

   fraud. Substantive offenses committed during this conspiracy were: § 1591(a)(1)

   sex trafficking by fraud (Counts 2, 4, 7, and 10) and § 1591(a)(2) benefitting by

   participating in a venture that commits sex trafficking by fraud (Counts 3, 6, 9, and

   11). Count 13 charged a § 1594(c) conspiracy (May 2010–August 2011) to


                                             7
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 12 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 8 of 44


   commit sex trafficking by fraud. Substantive offenses committed during this

   conspiracy were: § 1594(a) attempted sex trafficking by fraud (Counts 14 and 16)

   and § 1594(a) attempted benefitting by participating in a venture that commits sex

   trafficking by fraud (Counts 15 and 18). Flanders alone was charged with § 841

   distribution of Alprazolam (“Xanax”) (Counts 5, 8, 12, and 17).

           During the six-day trial, the jury heard testimony from seven victims and

   watched portions of their videos. The jury also heard testimony from an expert on

   Benzodiazepines and learned about the evidence seized during the 2007 and 2011

   searches. After the Government rested, Defendants brought a Rule 29 motion as to

   all counts. The district court granted the motion as to Counts 19 and 20 1 and

   denied the motion as to the other counts. The defense rested without putting on

   any witnesses. The jury returned guilty verdicts on all of the remaining counts.

           On January 27, 2012, the district court entered a Preliminary Order of

   Forfeiture against Flanders and Callum. The court then held a sentencing hearing

   on February 16, 2012. At the hearing, the district court overruled Appellants’

   objections to the pre-sentence report, adopted the advisory guideline range of 262–

   327 months’ imprisonment, and granted the Government’s request for an upward

   departure to life imprisonment. The court heard testimony from victims, denied

   Flanders’s request for a downward variance, and concluded that life imprisonment


   1
       These two counts involved crimes against a victim who did not testify at trial.
                                                     8
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 13 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 9 of 44


   was reasonable. The court sentenced Callum to a total imprisonment term of life,

   including sixty months for the § 371 conspiracy and life imprisonment for each of

   the sex-trafficking charges, to run consecutively to each other and to the sixty-

   month term. The court similarly sentenced Flanders to a total imprisonment term

   of life, including concurrent sixty-month terms for the § 371 conspiracy and drug

   counts and life terms for each of the sex-trafficking charges, to run consecutively

   to each other and to the sixty-month terms.

         Judgment was entered against Flanders on February 21, 2012, and against

   Callum on February 22, 2012. Both Appellants timely appealed their convictions

   and sentences (Appeal No. 12-10995). The district court entered a Final Order of

   Forfeiture against Flanders and Callum on August 28, 2012. Flanders filed a

   notice of appeal of the Final Order of Forfeiture on September 20, 2012 (Appeal

   No. 12-15027). On September 26, 2012, the district court denied Flanders’s

   motion for disclosure of grand jury transcripts and materials, and Flanders timely

   appealed (Appeal No. 12-15248).

                              II. Sufficiency of the Indictment

         Flanders argues that the indictment was defective because (1) the drug

   counts omitted a citation to the statute, and (2) the Government fraudulently told

   the grand jury that the crimes involved minors. However, “a defendant must object

   before trial to defects in the indictment, . . . and the failure to do so waives


                                               9
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 14 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 10 of 44


   appellate review. The only exceptions to the waiver rule are for claims that the

   indictment fails to state an offense—for instance, by omitting an element—or fails

   to invoke the court’s jurisdiction.” United States v. Pacchioli, 718 F.3d 1294,

   1307 (11th Cir. 2013) (citations omitted), cert. denied, 134 S. Ct. 804 (2013); see

   Fed. R. Crim. P. 12(b)(3)(B) (“The following must be raised before trial: a motion

   alleging a defect in the indictment or information—but at any time while the case

   is pending, the court may hear a claim that the indictment or information fails to

   invoke the court’s jurisdiction or to state an offense.”); id. R. 12(e) (“A party

   waives any Rule 12(b)(3) defense, objection, or request not raised by the deadline

   the court sets under Rule 12(c) or by any extension the court provides. For good

   cause, the court may grant relief from the waiver.”). Because Flanders failed to

   challenge the indictment prior to trial and has not shown good cause for relief from

   the Rule 12(e) waiver, he has waived these challenges to the indictment. See

   United States v. Dulcio, 441 F.3d 1269, 1275 (11th Cir. 2006) (holding that

   because defendants did not raise before trial their argument that the indictment was

   filed in bad faith, “the issue is deemed to have been waived”); United States v.

   Ramirez, 324 F.3d 1225, 1227–28 & n.8 (11th Cir. 2003) (finding no good cause to

   excuse waiver where defendants had all the information necessary to challenge the

   indictment prior to trial but waited until after opening arguments to file their

   motion).


                                             10
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 15 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 11 of 44


         Even if we treat Flanders’s argument as asserting that the drug counts did

   not state an offense, which would avoid the Rule 12(e) waiver, the claim lacks

   merit. Flanders argues that the drug counts (Counts 5, 8, 12, and 17) are defective

   because they cite the penalty provision (21 U.S.C. § 841(b)) but fail to cite the

   substantive conduct provision (§ 841(a)) of the criminal statute. Because Flanders

   challenges the adequacy of the indictment for the first time on appeal, “this Court

   must find the indictment sufficient unless it is so defective that it does not, by any

   reasonable construction, charge an offense for which the defendant is convicted.”

   United States v. Pena, 684 F.3d 1137, 1147 (11th Cir. 2012) (quotation marks

   omitted). Moreover, “[u]nless the defendant was misled and thereby prejudiced,

   neither an error in a citation nor a citation’s omission is a ground to dismiss the

   indictment . . . or to reverse a conviction.” Fed. R. Crim. P. 7(c)(2).

         We readily conclude that Flanders was not prejudiced by the indictment’s

   citation error. The drug counts directly quote the following language from

   § 841(a)(1): “knowingly [and] intentionally . . . distribute . . . a controlled

   substance.” This language, coupled with the citation to § 841(b)(2), sufficiently

   charged Flanders with the offense for which he was convicted. See Pena, 684 F.3d

   at 1147; see also United States v. Elgersma, 929 F.2d 1538, 1540–42 (11th Cir.

   1991) (holding that defendant was not prejudiced by citation error where the

   language of the count tracked the language of the substantive requirements of the


                                              11
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 16 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 12 of 44


   offense, thus giving defendant full notice of the elements of the offense charged),

   reasoning adopted by United States v. Elgersma, 971 F.2d 690, 691 n.1 (11th Cir.

   1992) (en banc). Thus, the citation error was harmless.

                             III. Sufficiency of the Evidence

         We review de novo a district court’s denial of a motion for judgment of

   acquittal on sufficiency of evidence grounds. United States v. Browne, 505 F.3d

   1229, 1253 (11th Cir. 2007). In doing so, “we consider the evidence in the light

   most favorable to the Government, drawing all reasonable inferences and

   credibility choices in the Government’s favor.” Id. “It is not necessary that the

   evidence exclude every reasonable hypothesis of innocence or be wholly

   inconsistent with every conclusion except that of guilt.” United States v. Faust,

   456 F.3d 1342, 1345 (11th Cir. 2006) (quotation marks omitted). “If a reasonable

   jury could conclude that the evidence establishes guilt beyond a reasonable doubt,

   we will affirm the verdict.” Browne, 505 F.3d at 1253.

   A. Conspiracy Charges (Counts 1 and 13)

         To prove conspiracy in Counts 1 and 13, the Government had to establish

   (1) the existence of an agreement between Flanders and Callum to violate 18

   U.S.C. § 1591(a)(1) (sex trafficking by force, fraud, or coercion); (2) Flanders’s

   knowing and voluntary participation in the conspiracy; and (3) an overt act in

   furtherance of the conspiracy. See 18 U.S.C. §§ 371, 1594(c); United States v.


                                            12
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 17 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 13 of 44


   White, 663 F.3d 1207, 1214 (11th Cir. 2011). “Because conspiracies are secretive

   by nature, the existence of an agreement and [Flanders’s] participation in the

   conspiracy may be proven entirely from circumstantial evidence.” White, 663 F.3d

   at 1214 (quotation marks omitted).

         Flanders argues that there was insufficient evidence of an agreement

   between Flanders and Callum to defraud the victims or of an overt act in

   furtherance of the conspiracy. We disagree. The victims testified that Callum

   represented himself as a Bacardi agent, and the jury could infer that he would not

   have known to make such a representation unless he were in on the fraud.

   Furthermore, the jury heard testimony that Flanders falsely and fraudulently

   represented himself to be “Karen Watson,” a fictitious female employee of a

   modeling agency who would put the victim in contact with a modeling scout.

   Callum is on video laughing and telling a victim during a sexual assault to say

   hello to Flanders’s alias “Karen Watson,” whom Callum would have known about

   only had he been in on the fraud. Callum also used the phrase “love your look”

   during another victim’s video, mocking the phrase Flanders used routinely when

   contacting potential victims via modeling websites and thus demonstrating that

   Callum was a party to the fraud. In the videos, the women lacked physical

   strength, despite one being an Army soldier and another a fitness instructor. The

   jury could reasonably conclude from their observations of the women in the videos


                                            13
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 18 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 14 of 44


   that the women were drugged, and they could conclude that Callum, who had an

   unparalleled opportunity to observe the unconscious and/or semi-unconscious

   states of the victims while he was engaging in sex acts with them, knew that they

   were drugged. From this evidence, a reasonable jury could conclude that Callum

   and Flanders had agreed to defraud the victims and had committed an overt act in

   furtherance of the conspiracy.

         Moreover, we wholly reject Flanders’s argument that the victims’ signatures

   on modeling release forms evidenced their voluntary participation in the films and

   created reasonable doubt of his guilt. The evidence at trial established that the

   victims signed those forms after being drugged. Viewing the evidence and

   drawing all reasonable inferences in the light most favorable to the Government,

   we find that a reasonable jury could conclude that the evidence at trial established

   Flanders’s guilt beyond a reasonable doubt. Accordingly, we affirm the verdict as

   to the conspiracy counts, Counts 1 and 13.

   B. Sex-Trafficking Charges (Counts 2, 4, 7, 10, 14, and 16)

         To prove the sex-trafficking charges in Counts 2, 4, 7, 10, 14, and 16, the

   Government had to prove that Defendants (1) did knowingly (2) in or affecting

   interstate and foreign commerce, (3) entice, recruit, harbor, transport, provide,

   obtain, or maintain by any means a person, (4) knowing, or in reckless disregard of

   the fact, (5) that fraud would be used to cause such person to engage in a


                                             14
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 19 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 15 of 44


   commercial sex act. See 18 U.S.C. § 1591(a)(1). The evidence established that

   Flanders used fraud both to recruit and entice the victims to travel to Miami and to

   drug the victims in order to cause them to engage in filmed sex acts, and that the

   films were then distributed commercially over the Internet. Flanders, however,

   argues that the victims’ involvement was entirely voluntary and that the victims’

   testimony regarding the attacks cannot be considered credible. In light of the

   overwhelming evidence at trial, these arguments are completely meritless. 2

   Because we find that a reasonable jury could find Flanders guilty of the sex-

   trafficking charges beyond a reasonable doubt, we affirm the verdict as to Counts

   2, 4, 7, 10, 14, and 16.

   C. Benefitting Charges (Counts 3, 6, 9, 11, 15, 18)

          To prove the sex-trafficking charges in Counts 3, 6, 9, 11, 15, and 18, the

   Government had to prove that Defendants (1) did knowingly benefit, financially or

   by receiving anything of value, (2) from participation in a venture which (a) in or

   affecting interstate and foreign commerce, (b) has enticed, recruited, harbored,

   2
      The evidence established that (1) the victims were recruited by Flanders under the false
   pretense of auditioning for a lucrative modeling contract in South Florida; (2) the victims were
   “duped” by Flanders’s emails pretending to be a female modeling agent and his phone calls
   pretending to be a modeling scout working with the female agent; (3) the victims trusted
   Flanders because they believed the female agent had referred him and he appeared professional;
   (4) the victims unconsciously signed release forms after unknowingly consuming drugs,
   provided by Flanders, which rendered their consent invalid; and (5) the two victims who agreed
   to film “love scenes” were told by Flanders that it would be like acting in a movie, and they
   never agreed to film pornography. With regard to the victims’ credibility, the jury observed the
   victims’ demeanor and had the opportunity to judge their character for truthfulness during their
   direct and cross-examinations and made credibility determinations accordingly.
                                                  15
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 20 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 16 of 44


   transported, provided, obtained, or maintained by any means a person,

   (3) knowing, or in reckless disregard of the fact, (4) that fraud would be used to

   cause such person to engage in a commercial sex act. See 18 U.S.C. § 1591(a)(2).

   Flanders argues that there is no evidence that he benefitted or attempted to benefit

   financially from participating in the sex-trafficking venture. He further argues that

   his possession of copies of the videos was not evidence that he derived a benefit

   from the venture because possession of adult pornography is legal.

         The evidence showed that Flanders benefitted personally when he received

   payment from two victims in the form of auditioning fees and when he took money

   from the wallet of a third victim. Moreover, the evidence established that

   Appellants’ “venture” was to produce and sell pornographic footage of Callum

   having sex with drugged women. Searches of Callum’s business and home

   uncovered thousands of commercial copies of the victims’ DVDs, which were

   being sold in pornography stores and on the Internet, as well as receipts showing

   payment from the sales. Flanders’s name appeared on a release signed by Callum

   in 2010, a copy of which was found in Flanders’s bedroom. Furthermore, during

   both the 2007 and 2011 searches of Flanders’s residence, officers seized copies of

   the victims’ videos, a thing of value to Flanders, who spent considerable time

   online looking at pornography as evidenced by his Internet searches for “sex with

   unconscious women.” Because Flanders aided Callum in creating the videos


                                            16
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 21 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 17 of 44


   Callum sold for financial remuneration, the jury could reasonably infer that

   Flanders had received the videos as remuneration for his work on the films.

   Finally, officers also found a package containing letters from Flanders to

   HomeGrownVideo revealing that Flanders was attempting to sell pornographic

   video footage of Callum and several young women, including at least one victim.

         We conclude that there is sufficient evidence to uphold the conviction on

   these counts. The jury could infer that Flanders benefitted from the venture when

   he accepted “auditioning fees” from the victims. Cf. United States v. Jennings, 280

   F. App’x 836, 844 (11th Cir. 2008) (unpublished) (finding sufficient evidence for

   the jury to infer that defendants derived a benefit from the sex-trafficking venture

   where their co-defendant used money derived from minor’s prostitution to pay for

   their gas and hotel room). Moreover, drawing all reasonable inferences in favor of

   the Government, we conclude that Flanders’s personal copies of the victims’

   videos as well as the letters from Flanders to HomeGrownVideo supported a

   finding that he derived a benefit from the venture. Because a reasonable jury could

   have found beyond a reasonable doubt that Flanders benefitted from the fraudulent

   scheme by selling the videos and by receiving fees from the victims and free

   pornography from Callum, we conclude that there is sufficient evidence to affirm

   Flanders’s conviction on these counts.




                                            17
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 22 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 18 of 44


   D. Drug Charges (Counts 5, 8, 12, 17)

         In order to convict Flanders on the drug charges in Counts 5, 8, 12, and 17,

   the Government had to “prove three elements: (1) knowledge; (2) possession; and

   (3) intent to distribute.” United States v. Poole, 878 F.2d 1389, 1391 (11th Cir.

   1989) (per curiam). Possession may be shown by constructive possession. Id. at

   1392. Constructive possession, whether exclusive or joint, exists when a defendant

   has ownership, dominion, or control over an object or the premises where the

   object is found. Id.

         The evidence here was sufficient for a reasonable jury to conclude that

   Flanders had knowing possession of Benzodiazapines and that he distributed them.

   When his residence was searched in 2007, the police found Diazepam pills in the

   bathroom; during the 2011 search, they found Clonazepam pills in a bottle on a

   nightstand. This evidence was sufficient to establish Flanders’s constructive

   possession over the drugs. Specifically with regard to the Diazepam pills, the

   evidence established that Flanders was living at the residence, along with two adult

   relatives, and stored pornographic videos of victims in his bedroom. The

   Diazepam pills, which were concealed in a medicine bottle in a shared bathroom at

   the residence, permitted the inference that Flanders was in joint constructive

   possession of the drugs.




                                            18
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 23 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 19 of 44


         Moreover, there was ample evidence at trial that he knowingly distributed

   the drugs to the victims. The victims testified to remarkably similar experiences

   after ingesting the alcohol provided by Flanders during the “pre-audition,”

   including bouts of unconsciousness, weakness, and memory loss. Nearly all of the

   victims testified that the amount of alcohol consumed was insignificant, lending

   credence to the conclusion that they were not simply feeling the effects of the

   alcohol when they became unconscious and weak. Moreover, an expert explained

   that the effects of the drugs are made stronger when dissolved in liquid and that

   alcohol especially intensifies the drugs’ effects. Finally, at least four of the victims

   testified that they had never before knowingly ingested Alprazolam, and yet they

   all tested positive for the drug following their auditions. Viewing the evidence and

   drawing all reasonable inferences in the light most favorable to the Government,

   we conclude that a reasonable jury could find Flanders guilty of the drug charges

   beyond a reasonable doubt. Accordingly, we affirm the verdict as to Counts 5, 8,

   12, and 17.

                              IV. Prosecutorial Misconduct

         The Eleventh Circuit reviews claims of prosecutorial misconduct de

   novo. United States v. House, 684 F.3d 1173, 1197 (11th Cir. 2012). “But where a

   defendant fails to make a contemporaneous objection to the alleged misconduct in

   the district court, we review such claims for plain error.” Id. Under the plain error


                                              19
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 24 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 20 of 44


   standard, the defendant must show that (1) an error occurred; (2) the error was

   plain; (3) it affected his substantial rights; and (4) it seriously affected the fairness

   of the judicial proceedings. Id. “Under the third prong of the plain error analysis,

   the defendant bears the burden of persuasion and must show that the claimed error

   affected his substantial rights, which almost always requires that the error must

   have affected the outcome of the district court proceedings.” Pena, 684 F.3d at

   1151 (quotation marks omitted).

         Flanders asserts that the indictment and superseding indictment were

   procured by deception because the Government falsely alleged to the grand jury

   that Flanders was involved in the sexual exploitation of minors. However, even if

   Flanders’s allegations of misconduct before the grand jury are true, “the petit jury’s

   verdict rendered harmless any conceivable error in the charging decision that might

   have flowed from the violation.” United States v. Mechanik, 475 U.S. 66, 67

   (1986) (explaining that “the petit jury’s verdict of guilty beyond a reasonable doubt

   demonstrates a fortiori that there was probable cause to charge the defendants with

   the offenses for which they were convicted”). The record shows that there was no

   mention of child exploitation before the petit jury. Thus, the petit jury’s guilty

   verdicts demonstrate that there was probable cause to charge Defendants with the

   offenses for which they were convicted, and any alleged misconduct before the




                                               20
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 25 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 21 of 44


   grand jury was harmless. Accordingly, we affirm the district court’s denial of

   Flanders’s motion for disclosure of the grand jury transcripts and materials.

         Flanders next argues that the Government withheld evidence in violation of

   Brady v. Maryland, 373 U.S. 83 (1963). According to Flanders, the Government

   failed to provide the arrest information filed by Agent Chavez that contained

   exculpatory and impeaching evidence, and there are FBI 302s that were not turned

   over to Flanders. “A Brady claim is available if either exculpatory or

   impeachment evidence is suppressed, regardless of the good faith or bad faith of

   the prosecution. A defendant who seeks a new trial based on an alleged Brady

   violation must show that, had the evidence been revealed to the defense, there is a

   reasonable probability that the outcome of the proceeding would have been

   different.” United States v. Fernandez, 136 F.3d 1434, 1438 (11th Cir. 1998)

   (citation omitted). Flanders provides no details regarding what type of exculpatory

   and impeachment evidence was contained in the arrest information or in the

   allegedly missing 302s. Furthermore, he has not shown that there is a reasonable

   probability that, had the evidence been revealed, the outcome of the proceeding

   would have been different. Accordingly, we find Flanders’s Brady claim wholly

   without merit.

         Finally, Flanders argues that the prosecutor’s statements in his closing

   argument require reversal of Flanders’s conviction because (1) the prosecutor, over


                                            21
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 26 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 22 of 44


   objection, improperly commented on Flanders’s lack of testimony to police; (2) the

   prosecutor, over objection, improperly argued that Flanders committed rape; and

   (3) the prosecutor tainted the jury by stating throughout its closing that Flanders

   lied “over and over again” both to the police and the women. Flanders concludes

   that the cumulative effect of the improper prosecutorial comments infected the

   entire trial.

          “[I]n reviewing claims that a prosecutor’s comments violated a defendant’s

   Fifth Amendment right against compulsory self-incrimination,” the Court “must

   determine whether a prosecutor’s remarks were manifestly intended to urge the

   jury to draw an inference from the defendant’s silence that he or she is guilty, or

   whether a jury would naturally and necessarily construe the prosecutor’s remarks

   as inviting such an impermissible inference.” United States v. Thompson, 422 F.3d

   1285, 1299 (11th Cir. 2005). Whether these conditions are satisfied “can be

   determined only by examining the context in which the statement was made.” Id.

          In support of his argument that the prosecutor, over objection, improperly

   commented on Flanders’s lack of testimony to police, Flanders cites the following

   portion of the Government’s closing argument:

          If Mr. Flanders really had been honest with the victims, if he had
          nothing to hide, then why didn’t he just say that to the police when
          they interviewed him? Why did he lie about knowing Emerson
          Callum? We know that he knew his name was Emerson Callum . . . .
          He told [a victim] three months before that his coworker’s name is
          Emerson. That is how he knew it. . . . Why was he so afraid of
                                             22
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 27 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 23 of 44


         admitting that he had been to the IHOP parking lot with a [victim]?
         Why didn’t he just say, “. . . that is the woman I lied to, to get her
         down here. Once she was here, I came clean. She decided to do
         pornography and then she got real sick. Hope she is okay.” What did
         he have to hide?

   Trial Tr. 214:23–24. These remarks do not explicitly reference Flanders’s silence

   to the police; instead, the remarks question why he lied to the police. Moreover, it

   cannot be said that these remarks “were manifestly intended to urge the jury to

   draw an inference from the defendant’s silence that he . . . is guilty.” Thompson,

   422 F.3d at 1299. Accordingly, we find no merit to Flanders’s claim that the

   prosecutor improperly commented on Flanders’s silence.

         Similarly, there is no merit to Flanders’s other claims of prosecutorial

   misconduct or that the comments resulted in cumulative error. In addressing a

   claim of cumulative error, “we consider all errors preserved for appeal and all plain

   errors in the context of the trial as a whole to determine whether the appellant was

   afforded a fundamentally fair trial.” House, 684 F.3d at 1197 (quotation marks

   omitted). “The total effect of the errors on the trial will depend, among other

   things, on the nature and number of the errors committed; their interrelationship, if

   any, and combined effect; the strength of the government’s case; and the length of

   trial.” Id. (quotation marks and alteration omitted). Upon review of the record, we

   find that Flanders has not demonstrated prosecutorial misconduct in any of the




                                            23
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 28 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 24 of 44


   cited comments. Thus, there was no error, let alone cumulative error, in the

   closing argument.

                                  V. Evidentiary Rulings

         We review a district court’s evidentiary rulings for a clear abuse of

   discretion and will reverse those rulings “only if the resulting error affected the

   defendant’s substantial rights.” United States v. Dodds, 347 F.3d 893, 897 (11th

   Cir. 2003). “[D]eterminations as to the relevancy of evidence are well within the

   broad discretion of the district courts and will not be disturbed on appeal absent a

   showing that the trial court abused its discretion.” United States v. Tinoco, 304

   F.3d 1088, 1120 (11th Cir. 2002) (quotation marks omitted). “[E]vidence is

   relevant if it has ‘any tendency to make the existence of any fact that is of

   consequence to the determination of the action more probable or less probable than

   it would be without the evidence.’” Id. (quoting Fed. R. Evid. 401).

         Although Federal Rule of Evidence 403 permits the district court to exclude

   otherwise relevant evidence “if its probative value is substantially outweighed by

   the danger of unfair prejudice,” Fed. R. Evid. 403, it is “an extraordinary remedy”

   that should be used sparingly, United States v. Elkins, 885 F.2d 775, 784 (11th Cir.

   1989). “[I]n a criminal trial relevant evidence is inherently prejudicial; it is only

   when unfair prejudice substantially outweighs probative value that the rule permits

   exclusion.” United States v. King, 713 F.2d 627, 631 (11th Cir. 1983) (emphasis in


                                             24
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 29 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 25 of 44


   original). Accordingly, “in reviewing issues under Rule 403, we look at the

   evidence in the light most favorable to its admission, maximizing its probative

   value and minimizing its undue prejudicial impact.” Tinoco, 304 F.3d at 1020

   (quotation marks omitted).

         A review of the record reveals that the district court did not abuse its

   discretion in admitting evidence of the Internet searches over Appellants’

   objections. The evidence of prior Internet searches for sex with unconscious

   women was probative because, at a minimum, it demonstrated either: (1) that

   Flanders was performing background research for his scheme, which involved and

   relied upon sexual performances by or with drugged women; or (2) that Flanders

   enjoyed viewing images of sexual intercourse with unconscious women. Under

   either or both scenarios, the evidence was relevant. Admission of the evidence

   would have enabled the jury to compare the searches (and any resulting images)

   with the allegations against the Defendants for any similarities. Cf. United States

   v. Pruitt, 638 F.3d 763, 767 (11th Cir. 2011) (discussing jury’s consideration of the

   record of Internet searches using terms related to child pornography).

         To the extent Flanders claims that the Internet-search evidence was unfairly

   prejudicial, he has failed to properly raise the issue. See Singh v. U.S. Att’y Gen.,

   561 F.3d 1275, 1278 (11th Cir. 2009) (“[A]n appellant’s simply stating that an

   issue exists, without further argument or discussion, constitutes abandonment of


                                             25
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 30 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 26 of 44


   that issue and precludes our considering the issue on appeal.”); Fed. R. App. P.

   28(a)(8) (requiring that appellant’s brief contain “appellant’s contentions and the

   reasons for them, with citation to the authorities and parts of the record on which

   the appellant relies”). Nevertheless, Flanders’s argument in this regard is without

   merit, particularly in view of the quantum of the other evidence presented.

         Similarly unpersuasive are Flanders’s arguments with regard to the

   ownership of and access to the computers. There was no evidence adduced at trial

   as to the owner of the computers found in the residence Flanders shared with his

   girlfriend. Rather, the jury was presented with computer analysis establishing that

   Flanders’s email was used and that someone logged into the computers and

   conducted hundreds of searches of modeling websites and for images of sex with

   unconscious women. The jury could infer that Flanders, not his girlfriend,

   conducted these searches, particularly in light of the fact that they were conducted

   at times when Flanders’s girlfriend was working. Nevertheless, Flanders’s

   arguments do not strike at the relevancy of the evidence, but rather the weight the

   jury was entitled to assign to it.

         Flanders also claims that the district court erred in allowing for the

   introduction of the drugs found during a search in 2007, which were located in a

   shared bathroom of the residence, because Flanders did not have exclusive access

   to the bathroom, and there was no evidence of constructive possession. Flanders’s


                                            26
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 31 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 27 of 44


   arguments in this regard largely mirror his claims, discussed above, regarding the

   ownership of and access to the computers. As explained in the earlier discussion

   addressing the sufficiency of the evidence, the Diazepam pills, which were

   concealed in a medicine bottle in a shared bathroom at the residence, permitted the

   inference that Flanders was in joint constructive possession of the drugs.

   Moreover, Flanders fully explored this issue on cross-examination and argued that

   his shared residence vitiated the significance of the Diazepam, as well as the online

   searches. Notwithstanding the foregoing, even if the inferences of constructive

   possession were unwarranted, any error in the admission was harmless given the

   overwhelming evidence of Appellants’ guilt. 3

          Similarly, there is no merit to Flanders’s argument that the reading into

   evidence of a transcript of his 2007 post-Miranda statements violated the best

   evidence rule. “The best evidence rule provides that the original documents must

   be produced to prove the content of any writing, recording or photograph.” United

   States v. Howard, 953 F.2d 610, 612 n.1 (11th Cir. 1992) (citing Fed. R. Evid.

   1002–06). An original is not required if it is lost or destroyed, unless it is

   unavailable through bad faith. Fed. R. Evid. 1004. A duplicate is admissible to the

   same extent as an original, unless there is a genuine question of authenticity or it

   would be unfair to admit the duplicate. Fed. R. Evid. 1003; see United States v.

   3
      We find no merit in Callum’s arguments that the evidence of the drugs and Internet searches
   found during the two searches of Flanders’s residences was unfairly prejudicial to Callum.
                                                 27
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 32 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 28 of 44


   Ross, 33 F.3d 1507, 1513–14 (rejecting best-evidence challenge to transcripts of

   destroyed recordings of co-conspirators’ conversations).

          At trial, Detective Fletcher testified that the audio recording of Flanders’s

   statements had been inadvertently destroyed. Furthermore, there is no evidence of

   bad faith or to support Flanders’s assertion that the transcript was untrustworthy.

   Thus, we conclude that the district court did not abuse its discretion when it

   admitted into evidence a transcript of Flanders’s statements. Moreover, to the

   extent that Flanders argues for the first time on appeal that the publication

   method—wherein the transcript was read into the record—violated the rules, this

   argument is subject to, and fails, the plain error standard. Given the overwhelming

   evidence of his guilt, Flanders cannot show that the method of publication affected

   the outcome of his district court proceedings, as required under plain error review. 4

                                          VI. Public Trial

          Appellants argue that their Sixth Amendment right to a public trial was

   violated when the court ordered the courtroom doors locked during closing

   arguments. “The Sixth Amendment right to a public trial is not absolute and must,

   on occasion, give way to other rights and interests.” United States v. Brazel, 102


   4
      For the first time on appeal, Flanders argues that the search warrant was invalid because it was
   based on misrepresentations that the case involved minors, rendering inadmissible all evidence
   seized pursuant to the warrant. Because Flanders did not raise this issue prior to trial, it is
   waived. See Fed. R. Crim. P. 12(e); United States v. Ford, 34 F.3d 992, 994 n.2 (11th Cir. 1994)
   (“A party’s failure to present a suppression motion prior to trial constitutes waiver unless the
   district court grants relief for good cause shown.”).
                                                   28
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 33 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 29 of 44


   F.3d 1120, 1155 (11th Cir. 1997) (citing Waller v. Georgia, 467 U.S. 39, 45

   (1984)). We have “recognized a distinction between total closures of proceedings

   . . . and situations where the courtroom is only partially closed to spectators.” Judd

   v. Haley, 250 F.3d 1308, 1315 (11th Cir. 2001). In the event of a partial closure,

   where access to the courtroom is retained by some spectators (such as

   representatives of the press or the defendant’s family members), “a court need

   merely find a ‘substantial’ reason for the partial closure,” id., rather than the

   “compelling” reason that is required to justify a complete closure, Brazel, 102 F.3d

   at 1155.

         The record establishes the following facts: (1) the courtroom was nearly full,

   and several of Defendants’ family and friends were present during closing

   arguments; (2) only those people who arrived past 9:05 a.m. were denied access;

   (3) neither side objected when the court proposed locking the doors; (4) when

   defense counsel expressed concern after closing arguments that some of

   Defendants’ family had been locked out of the courtroom, the court offered

   counsel the opportunity to redeliver their closing arguments with the doors

   unlocked, but both sides declined; (5) before the verdicts were announced, defense

   counsel moved for a mistrial on Sixth Amendment grounds, but the court denied

   the motion, finding no contemporaneous objection; and (6) defense counsel later

   moved for a new trial on the same grounds, but the district court again denied the


                                              29
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 34 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 30 of 44


   motion, explaining in a written order that it had locked the doors once closing

   arguments had begun in order to limit distractions to the jury that could have

   inhibited their ability to perform their function. Under these facts and for the

   reasons given in the district court’s thoughtful order, United States v. Flanders,

   845 F. Supp. 2d 1298 (S.D. Fla. 2012), we readily conclude that the Defendants’

   right to a public trial was not violated by the partial closure of the courtroom. See

   Aaron v. Capps, 507 F.2d 685, 687–88 (5th Cir. 1975)5 (finding no constitutional

   violation caused by partial closure of criminal trial where some members of the

   public, including the news media and defendant’s relatives and clergyman, were

   admitted; the courtroom was at least three-fourths full; and the transcript of the

   trial became public record).

                                      VII. Double Jeopardy

          Both Flanders and Callum argue that each pair of their 18 U.S.C.

   § 1591(a)(1) and (a)(2) convictions, arising out of the same set of facts, was

   multiplicitous and therefore violated the Double Jeopardy Clause. We review

   claims of double jeopardy de novo. United States v. Bobb, 577 F.3d 1366, 1371

   (11th Cir. 2009). Among other prohibitions, the Double Jeopardy Clause of the

   Fifth Amendment does not allow for multiple punishments for the same offense.


   5
      The Eleventh Circuit, in the en banc decision Bonner v. City of Prichard, 661 F.2d 1206, 1209
   (11th Cir. 1981), adopted as precedent decisions of the former Fifth Circuit rendered prior to
   October 1, 1981.
                                                 30
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 35 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 31 of 44


   Id. Where a defendant has violated two different criminal statues, the Double

   Jeopardy Clause is implicated if both statutes prohibit the same act or if one act is a

   lesser included offense of the other. Id. However, Congress has the power to

   authorize multiple punishments arising out of the same act or transaction, and there

   is no double jeopardy implication where legislative intent is clear. Id.

         In order to determine whether two provisions punish the same offense, we

   look to whether each provision requires proof of a fact that the other does not. Id.

   at 1372 (citing Blockburger v. United States, 284 U.S. 299, 304 (1932)). This

   analysis focuses on the proof necessary to establish the statutory elements for each

   offense, not the evidence presented at trial. Id.

         Section 1591 reads:

              (a) Whoever knowingly—

                  (1) in or affecting interstate or foreign commerce . . .
              recruits, entices, harbors, transports, provides, obtains, or
              maintains by any means a person; or

                  (2) benefits financially or by receiving anything of
              value, from participation in a venture which has engaged in
              an act described in violation of paragraph (1),

              knowing, or in reckless disregard of the fact, that . . . fraud
              . . . will be used to cause the person to engage in a
              commercial sex act . . . shall be punished as provided in
              subsection (b).

   18 U.S.C. § 1591.



                                             31
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 36 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 32 of 44


         A plain reading of § 1591(a)(1) and (a)(2) demonstrates that the two

   subsections meet the Blockburger test of whether separate convictions are

   authorized. Section 1591(a)(1) requires proof that the defendant was criminally

   responsible for the recruitment or enticement of a person with knowledge that the

   person will be fraudulently induced to engage in a commercial sex act. 18 U.S.C.

   § 1591(a)(1). Section 1592(a)(2) does not require proof of such conduct on the

   defendant’s part, as only participation in a venture which has recruited or enticed a

   person for such purposes is required. Id. § 1592(a)(2). Further, while § 1592(a)(2)

   requires proof that the defendant received a valuable benefit from his participation,

   § 1591(a)(1) requires no such proof. Each subsection, therefore, requires proof of

   an element that the other does not, and the separate convictions for each do not

   result in a double jeopardy violation. See Bobb, 577 F.3d at 1372.

                         VIII. Reasonableness of the Sentences

         Both Flanders and Callum challenge the reasonableness of their consecutive

   total life sentences. We employ a two-step process to review a sentence for

   reasonableness. United States v. Beckles, 565 F.3d 832, 845 (11th Cir. 2009).

   First, we must “ensure that the district court committed no significant procedural

   error, such as failing to calculate (or improperly calculating) the Guidelines range,

   treating the Guidelines as mandatory, failing to consider the § 3553(a) factors,

   selecting a sentence based on clearly erroneous facts, or failing to adequately


                                             32
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 37 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 33 of 44


   explain the chosen sentence.” Gall v. United States, 552 U.S. 38, 51 (2007). Once

   we determine that the district court did not procedurally err, we then “consider the

   substantive reasonableness of the sentence imposed under an abuse-of-discretion

   standard, based on the totality of the circumstances.” Beckles, 565 F.3d at 845

   (quotation marks omitted). We will remand for resentencing only when “left with

   the definite and firm conviction that the district court committed a clear error of

   judgment in weighing the § 3553(a) factors by arriving at a sentence that lies

   outside the range of reasonable sentences dictated by the facts of the case.” United

   States v. Pugh, 515 F.3d 1179, 1191 (11th Cir. 2008) (quotation marks omitted).

   “The party who challenges the sentence bears the burden of establishing that the

   sentence is unreasonable in the light of both [the] record and the factors in section

   3553(a).” United States v. Thomas, 446 F.3d 1348, 1351 (11th Cir. 2006)

   (quotation marks omitted).

   A. § 2A3.1(b)(1) Enhancements

         Appellants argue that the district court erred in applying U.S.S.G.

   § 2G1.1(c)’s cross reference to U.S.S.G. § 2A3.1 in calculating their guideline

   range. We review de novo the district court’s application of the Sentencing

   Guidelines, and we review underlying factual findings for clear error. United

   States v. Foley, 508 F.3d 627, 632 (11th Cir. 2007). The Guidelines instruct that

   when a cross reference applies, the entire referenced offense guideline, including


                                             33
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 38 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 34 of 44


   enhancements, should apply. U.S.S.G. § 1B1.5(a). “Additionally, the [G]uidelines

   specifically instruct courts to take into consideration all relevant conduct when

   calculating the guideline range.” United States v. Webb, 665 F.3d 1380, 1383

   (11th Cir. 2012) (citing U.S.S.G. § 1B1.3).

         The guideline range for convictions under 18 U.S.C. § 1591 are calculated in

   U.S.S.G. § 2G1.1. U.S.S.G. § 2G1.1, cmt. Under a cross-reference provision, if

   the offense “involved” conduct described in 18 U.S.C. § 2241(a) or (b) (aggravated

   sexual abuse) or § 2242 (sexual abuse), the guideline should be calculated under

   § 2A3.1. Id. § 2G1.1(c)(1). Section 2A3.1 provides for a four-level enhancement

   only if the offense involved conduct described in 18 U.S.C. § 2241(a) or (b). Id.

   § 2A3.1(b)(1). It is aggravated sexual abuse when a defendant “administers to

   another person . . . without the knowledge or permission of that person, a drug,

   intoxicant, or other similar substance[,]” which “substantially impairs the ability of

   that other person to appraise or control conduct[,]” and “engages in a sexual act

   with that other person[.]” 18 U.S.C. § 2241(b)(2).

         Callum appears to argue that because he was convicted of fraudulent

   inducement, and not a sex act itself, his sentence cannot be enhanced based on the

   sex act. However, the plain language of the cross reference states that it should

   apply if the offense “involved” § 2241 conduct, not merely if the § 2241 conduct

   was the basis for the conviction. See U.S.S.G. § 2G1.1(c). The offense conduct


                                             34
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 39 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 35 of 44


   met the description in § 2241(b)(2), as Flanders gave drugs to women who did not

   know the alcohol they were drinking contained drugs, and Callum then had sex

   with them. Accordingly, we find that Callum’s challenge to the application of the

   § 2G1.1(c) cross reference is without merit.

         Flanders argues that the court erred in imposing the § 2A3.1(b)(1)

   enhancement to his guideline calculation because the conduct described in 18

   U.S.C. § 2241(a) or (b) was used to calculate his base offense and thus could not

   be used for purposes of an enhancement. Flanders argues that imposing the

   enhancement constituted impermissible double counting.

         We review a claim of double counting de novo. United States v. Suarez, 601

   F.3d 1202, 1220 (11th Cir. 2010). “Impermissible double counting occurs only

   when one part of the Guidelines is applied to increase a defendant’s punishment on

   account of a kind of harm that has already been fully accounted for by application

   of another part of the Guidelines.” Webb, 665 F.3d at 1382 (quotation marks

   omitted). “Double counting a factor during sentencing is permitted if the

   Sentencing Commission intended that result and each guideline section in question

   concerns conceptually separate notions relating to sentencing.” Id. (quotation

   marks omitted). We presume that the Commission intended to apply separate

   sections cumulatively unless otherwise specified, “and, as a result, a defendant

   asserting a double counting claim has a tough task.” Id. (quotation marks omitted).


                                            35
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 40 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 36 of 44


         In this case, the district court did not err in applying the 2G1.1(c) cross

   reference and 2A3.1(b)(1) enhancement in conjunction with one another. Based on

   the plain language of the Guidelines, the Sentencing Commission intended for the

   entirety of § 2A3.1, including any enhancements, to apply following the

   application of the cross reference. See U.S.S.G. § 1B1.5(a). Further, the cross

   reference and the enhancement do not deal with identical conduct. The cross

   reference applies where the offense involved any conduct constituting sexual

   abuse. See id. § 2G1.1(c)(1); 18 U.S.C. §§ 2241(a)–(b) and 2242. The

   enhancement, however, applies an additional four levels only where the offense

   involved conduct constituting the more severe subset of aggravated sexual abuse

   offenses. See U.S.S.G. § 2A3.1(b)(1); 18 U.S.C. § 2241(a) and (b). To the extent

   that Appellants’ base offense level and enhancement were based on the same

   conduct, therefore, those calculations did not constitute impermissible double

   counting. See Webb, 665 F.3d at 1352–53.

   B. § 2G1.3(d) Grouped Offenses

         Flanders next argues that the district court incorrectly grouped his offenses

   based on § 2G1.3(d), which deals with underage victims. In the case of a

   conviction or convictions for sex trafficking involving minors, the grouping rules

   apply as if each victim constituted a separate conviction. U.S.S.G. § 2G1.3(d)(1).




                                             36
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 41 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 37 of 44


   The same grouping rule applies where the offense did not involve any minors. Id.

   § 2G1.1(d)(1).

         Flanders did not object to the use of § 2G1.3(d) below, so plain error review

   applies. See United States v. Barrington, 648 F.3d 1178, 1195 (11th Cir. 2011).

   Here, as the Government concedes, the district court applied the wrong Guidelines

   provision in grouping the offenses, as there was no evidence that the offenses

   involved minors. Because the explicit language of the rule makes clear that an

   error occurred, the error can be classified as “plain.” See United States v. Lejarde-

   Rada, 319 F.3d 1288, 1291 (11th Cir. 2003) (per curiam). However, the correct

   Guidelines section, § 2G1.1(d), would have grouped the offenses in the exact same

   manner. See U.S.S.G. §§ 2G1.1(d)(1) and 2G1.3(d)(1). The error therefore did not

   affect Flanders’s substantial rights, as the outcome of the sentencing could not

   have been any different had the correct provision been applied. See Pena, 684

   F.3d at 1151. Accordingly, the error does not meet the plain error standard and is

   not a basis upon which to find procedural unreasonableness.

   C. § 5K2.8 Upward Departure

         Appellants argue that the court erred in granting the Government’s motion

   for a § 5K2.8 upward departure, which applies when a defendant’s conduct was

   unusually “heinous, cruel, or brutal.” We review for abuse of discretion the district




                                            37
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 42 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 38 of 44


   court’s decision to grant a departure. United States v. Siegelman, 640 F.3d 1159,

   1190 (11th Cir. 2011).

         After calculating a defendant’s guideline range, the district court is directed

   to consider whether a departure warrants consideration. U.S.S.G. § 1B1.1(b). The

   court can grant an upward departure if the defendant’s conduct was “unusually

   heinous, cruel, brutal, or degrading to the victim,” including where the offense

   involves a “prolonging of pain or humiliation.” Id. § 5K2.8. We have upheld the

   district court’s imposition of the § 5K2.8 departure where: an HIV-positive

   defendant knowingly exposed a minor victim to the disease without notifying her,

   United States v. Blas, 360 F.3d 1268, 1273–74 (11th Cir. 2004); a defendant forced

   victims to engage in oral, anal, and vaginal sex, United States v. Lewis, 115 F.3d

   1531, 1538–39 (11th Cir. 1997); and a defendant exposed victims to public

   embarrassment and repeated harassing letters over a period of twenty years, United

   States v. Taylor, 88 F.3d 938, 946 (11th Cir. 1996).

         We readily conclude that the district court did not abuse its discretion in

   granting the upward departure. Flanders videotaped Callum having sex with

   women who were under the influence of drugs that Flanders had given to them

   without their knowledge. Victims woke up covered in bodily fluids and uncertain

   of what had happened to them. Appellants then distributed those videos over the

   Internet, where the videos will be available indefinitely, thus “prolonging [the


                                            38
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 43 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 39 of 44


   victims’] pain or humiliation.” U.S.S.G. § 5K2.8. The district court did not abuse

   its discretion when it concluded that Appellants’ conduct was “unusually heinous,

   cruel, brutal, or degrading to the victim[s].” Id. Thus, the upward departure was

   not an abuse of discretion.

   D. Substantive Reasonableness

         Appellants challenge the substantive reasonableness of their life sentences.

   On substantive reasonableness review, we can “vacate the sentence if, but only if,

   we are left with the definite and firm conviction that the district court committed a

   clear error of judgment in weighing the § 3553(a) factors by arriving at a sentence

   that lies outside the range of reasonable sentences dictated by the facts of the case.”

   United States v. Irey, 612 F.3d 1160, 1190 (11th Cir. 2010) (en banc) (quotation

   marks omitted). Among the factors that the court should consider in sentencing are

   the guideline range; the nature and circumstances of the offense; and the need for

   the sentence to reflect the seriousness of the offense, to deter criminal conduct, and

   to protect the public from the defendant’s future crimes. 18 U.S.C. § 3553(a). The

   weight to be given any particular factor in sentencing generally is left to the sound

   discretion of the district court. United States v. Amedeo, 487 F.3d 823, 832 (11th

   Cir. 2007).

         Neither Flanders nor Callum has met his burden of demonstrating that his

   total life sentence was substantively unreasonable. See Thomas, 446 F.3d at 1351.


                                             39
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 44 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 40 of 44


   Flanders used false pretenses to convince women to travel to South Florida, told

   the women that they had to drink alcohol for a commercial, drugged the alcohol,

   and drove the women to Callum, who had sex with the women while they were

   under the influence of the drugs. Appellants’ crimes were made more serious,

   warranting a longer sentence, by the fact that they filmed the sexual encounters and

   then distributed those videos in DVDs and over the Internet. See 18 U.S.C.

   § 3553(a)(2)(A); Irey, 612 F.3d at 1208 (explaining that the seriousness of the

   defendant’s crime was enhanced because he recorded his sexual assaults, in that

   case on children, and distributed the videos on the Internet, which (1) “magnified

   and perpetuated” the harm, because each viewing of the video represented a

   renewed violation of the victims, and (2) encouraged others to commit similar

   crimes).

         A long sentence also could be justified by the need to protect the public from

   future crimes of the Defendants, underscored by the fact that Flanders and Callum

   continued their scheme after having been arrested and charged in state court. See

   18 U.S.C. § 3553(a)(2)(C). Moreover, although neither Flanders nor Callum had a

   significant criminal history, their scheme took place over a number of years dating

   back to 2006 and involved a large number of victims. See United States v.

   Campbell, 491 F.3d 1306, 1317 (11th Cir. 2007) (explaining that a first conviction

   is not the same as being a first time offender where the fraud took place over a


                                            40
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 45 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 41 of 44


   number of years and the defendant tried to conceal the fraud). At sentencing, the

   prosecutor’s proffer showed that there were at least fifty victims, only seven of

   whom testified at trial to Appellants’ abhorrent conduct.

          Neither Flanders nor Callum presents any persuasive argument as to why a

   life sentence was outside the range of reasonable sentences, and the facts of their

   crimes do not support such a conclusion. Accordingly, we hold that their sentences

   are substantively reasonable.6

                              IX. Constitutionality of the Sentence

          Finally, Flanders argues that his life sentences violated the Eighth

   Amendment’s prohibition against cruel and unusual punishment. “We review

   challenges to the constitutionality of a sentence de novo.” United States v.

   Sanchez, 586 F.3d 918, 932 (11th Cir. 2009). However, when a defendant fails to

   raise an Eighth Amendment challenge to a sentence in the district court, we review

   that challenge on appeal for plain error.7 United States v. Raad, 406 F.3d 1322,

   1323 (11th Cir. 2005). Outside the context of capital punishment cases, successful

   Eighth Amendment challenges are “exceedingly rare.” Solem v. Helm, 463 U.S.

   277, 289 (1983). “In non-capital cases, the Eighth Amendment encompasses, at


   6
      There is no merit to Flanders’s argument that the court should have granted his motion for a
   downward variance.
   7
      It is questionable whether Flanders raised an Eighth Amendment objection below. While he
   asserted that a life sentence would be “cruel and unusual,” he did so in the context of requesting
   a variance before the sentence was actually imposed. Under any standard of review, however,
   there is no merit to Flanders’s Eighth Amendment challenge.
                                                   41
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 46 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 42 of 44


   most, only a narrow proportionality principle.” United States v. Reynolds, 215 F.3d

   1210, 1214 (11th Cir. 2000) (per curiam) (quotation marks omitted). We review

   the sentence imposed by first determining whether the sentence is “grossly

   disproportionate to the offense committed.” Id. If we find that it is, we then

   consider sentences imposed on others convicted of the same crime. Id.

         Flanders’s argument—that his consecutive life sentences violate the Eighth

   Amendment because he had no prior convictions and the sentences demonstrate a

   lack of mercy and compassion—is wholly without merit. The statutory range for

   the sex-trafficking counts is fifteen years to life. See 18 U.S.C. §§ 1591(b)(1),

   1594(b). Accordingly, the sentence imposed for each count was within the limits

   prescribed by the statute. See United States v. Moriarty, 429 F.3d 1012, 1024

   (11th Cir. 2005) (per curiam) (“In general, a sentence within the limits imposed by

   statute is neither excessive nor cruel and unusual under the Eighth Amendment.”).

   Moreover, for the same reasons that his sentence is not substantively unreasonable,

   Flanders’s total life sentence was not so disproportionate to his crimes that it would

   be considered cruel and unusual under the Eighth Amendment.

                           X. Ineffective Assistance of Counsel

         Flanders raises numerous ineffectiveness allegations. “Generally, claims of

   ineffective assistance of counsel are not considered for the first time on direct

   appeal.” United States v. Tyndale, 209 F.3d 1292, 1294 (11th Cir. 2000) (per


                                             42
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 47 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 43 of 44


   curiam) (noting exception for cases where the record is “sufficiently developed”).

   Because we find that the record is not sufficiently developed to facilitate

   consideration of Flanders’s ineffectiveness claims, we decline to address the merits

   of these claims on direct appeal.

                XI. Flanders’s Appeal of the Final Order of Forfeiture

         Under appeal number 12-15027, Flanders appeals pro se from the district

   court’s final order of forfeiture. After a conviction upon which criminal forfeiture

   is sought, the court must determine which property is forfeitable as soon as

   practical following the conviction. Fed. R. Crim. P. 32.2(b)(1)(A). The court must

   then enter a preliminary order of forfeiture setting forth the money or property that

   will be forfeited. Id. R. 32.2(b)(2)(A). The preliminary order of forfeiture

   becomes final as to the defendant at sentencing, during which the court must

   include the forfeiture when pronouncing sentence and the forfeiture order in the

   judgment. Id. R. 32.2(b)(4)(A) and (B). The time for the defendant to file an

   appeal from a forfeiture order runs from the entry of the judgment. Id. R.

   32.2(b)(4)(C). A final order of forfeiture is entered after the court has had an

   opportunity to account for any third-party rights in the forfeited property. Id. R.

   32.2(c)(2). The advisory committee notes explain that a defendant’s right to

   appeal a forfeiture order runs from the entry of the preliminary order of forfeiture,

   because that is when the order becomes final as to the defendant. Id. R. 32.2,


                                             43
Case 1:11-cr-20557-KMM Document 299 Entered on FLSD Docket 10/17/2014 Page 48 of 48
                 Case: 12-10995 Date Filed: 05/27/2014 Page: 44 of 44


   Advisory Committee Note, Subdivision (b) (2000 Adoption). Because the final

   order of forfeiture has no bearing on the defendant’s rights, the defendant has no

   right to appeal that order. Id.

         We previously authorized Flanders to file a separate, pro se brief, only

   insofar as he challenged the district court’s “Final Order of Forfeiture,” and

   directed that all remaining arguments should be raised and submitted in the

   counseled brief. However, we now conclude that Flanders has no standing to

   appeal from the final order of forfeiture. See Fed. R. Crim. P. 32.2, Advisory

   Committee Note, Subdivision (b). Therefore, we dismiss appeal number 12-15027

   for a lack of jurisdiction based on Flanders’s lack of standing. See United States v.

   Edwards, 728 F.3d 1286, 1291 (11th Cir. 2013) (explaining that we are obliged to

   examine our own jurisdiction, including whether an appellant has standing).

   Pursuant to our order, Flanders’s counsel could have raised any challenge to the

   preliminary order of forfeiture in its initial appellate brief.

                                       XII. Conclusion

         We affirm the Appellants’ convictions and sentences (Appeal No. 12-10995)

   as well as the district court’s order denying disclosure of the grand jury transcripts

   and materials (Appeal No. 12-15248). Flanders’s pro se appeal of the Final Order

   of Forfeiture (Appeal No. 12-15027) is dismissed for lack of jurisdiction.

         AFFIRMED IN PART; DISMISSED IN PART.


                                               44
